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10 Inc. and Susan Anderson
11 [Additional counsel listed on the following page]
12
13                          UNITED STATES DISTRICT COURT
14                        CENTRAL DISTRICT OF CALIFORNIA
15
16
   JAMAL JOHNSON, individually and on           Case No.: 5:19-cv-02456-FMO-SP
17 behalf of others similarly situated,
                                                [Assigned to Hon. Fernando M. Olguin]
18                     Plaintiff,
19 v.                                           JOINT STIPULATION TO MODIFY
                                                SCHEDULING ORDER BY
20 MOSS BROS. AUTO GROUP, INC.,                 EXTENDING DEADLINES BY 90
                                                DAYS TO FACILITATE
21 California Corporation; and SUSAN            SETTLEMENT
   ANDERSON, an individual
22                                              Discovery Cutoff: January 21, 2021
                            Defendants.         Pretrial Conference Date: Not yet set
23                                              Complaint Filed: December 20, 2019
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 1           Pursuant to Federal Rule of Civil Procedure 16 and the Court’s inherent powers,
 2 Plaintiff Jamal Johnson and Defendants Moss Bros. Auto Group, Inc. and Susan
 3 Anderson, hereby stipulate and jointly request to modify the Court’s May 7, 2020
 4 Scheduling Order (Dkt. 47, as modified in Dkt. 88) by extending all deadlines by 90
 5 days so they can focus their efforts in the next few months on exploring settlement
 6 through private mediation, as encouraged by the Court.
 7                                      STIPULATION
 8           WHEREAS, the Court’s May 7, 2020 Scheduling Order required the Parties to
 9 complete case-specific fact discovery by November 6, 2020, and case-specific expert
10 discovery by January 21, 2021 (Dkt. 47);
11           WHEREAS, on August 25, 2020, the Court modified the Scheduling Order by
12 granting the parties’ joint request to postpone the fact discovery cut-off to January 21,
13 2021 (Dkt. 88);
14           WHEREAS, the parties timely exchanged Rule 26(a) disclosures and have
15 scheduled several depositions of Defendant’s witnesses and third parties to take place
16 in October and November 2020;
17           WHEREAS, the parties are cooperating with respect to Moss Bros.’ responses to
18 Plaintiff’s discovery requests;
19           WHEREAS, the parties are mindful of the Court’s instruction in its Scheduling
20 Order that discovery should proceed while motions are pending, but Defendants
21 contend they cannot engage in discovery without potentially waiving the right to have
22 Plaintiff’s claims decided through arbitration; 1
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     See, e.g., Cox v. Ocean View Hotel Corp., 533 F.3d 1114, 1124 (9th Cir. 2008) (in
     1

25 assessing  whether a party has waived its right to arbitration, the court must look to
   whether a party has taken “advantage of judicial discovery procedures not available
26 in arbitration”); Goodrich & Pennington Mortg. Fund, Inc. v. Chase Home Fin., LLC,
   No. 05-CV-636-JLS, 2008 U.S. Dist. LEXIS 129877, at *19 (S.D. Cal. Nov. 24,
27 2008) (holding that “taking advantage of judicial discovery procedures” constitutes an
   arbitration waiver).
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 1           WHEREAS, Defendants have not propounded any discovery requests or sought
 2 to take any depositions because they seek to preserve its claimed arbitration rights;
 3           WHEREAS, on July 2, 2020, Intervening Party Moss Bros. CJD, Inc. (“CJD
 4 Moreno Valley”) filed a Motion to Intervene (Dkt. 56) and Motion to Compel
 5 Arbitration and Stay Proceedings (Dkt. 57), and those matters were fully briefed and
 6 taken under submission by the Court on July 27, 2020 (Dkt. 68);
 7           WHEREAS, on July 2, 2020, Moss Bros. filed a motion to join CJD Moreno
 8 Valley as a party to this case (Dkt. 58), and that motion was fully briefed and taken
 9 under submission by the Court on July 27, 2020 (Dkt. 68);
10           WHEREAS, on August 24, 2020, the Court struck CJD Moreno Valley’s Motion
11 to Compel Arbitration as premature (Dkt. 83), and CJD Moreno Valley anticipates re-
12 filing a motion to compel arbitration if the pending Motion to Intervene is granted;
13           WHEREAS, on September 10, 2020, Defendants filed their own motions to
14 compel arbitration (Dkt. 97, Dkt. 98) and a joint motion for interim stay of proceedings
15 until the issue of arbitration is resolved (Dkt. 99, the “Interim Stay Motion”), and those
16 three motions have been fully briefed by the parties;
17           WHEREAS, Defendants also filed an ex parte application to expedite ruling on
18 the Interim Stay Motion, and the Court denied that application but “encourage[d] the
19 parties to explore settlement options” (Dkt. 105);
20           WHEREAS, the parties attended private mediation in April 2020, agree that
21 revisiting settlement efforts would be productive, and have agreed to attend a second
22 mediation session that they anticipate taking place in October or November of 2020;
23           WHEREAS, the parties agree that postponing all existing deadlines by 90 days
24 would greatly facilitate settlement efforts, particularly because several discovery
25 deadlines, party depositions, and third-party depositions are scheduled throughout
26 October and November 2020 and because Defendants contend they are being prejudiced
27 because such discovery is precluded by Plaintiff’s arbitration agreement;
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 1           WHEREAS, postponing the existing deadlines will simultaneously facilitate
 2 settlement efforts, while providing additional time for the Court to rule on CJD Moreno
 3 Valley’s motion to intervene, Moss Bros.’ motion to join CJD Moreno Valley as a party;
 4 Defendants’ arbitration motions, and Defendants’ motion for an interim stay;
 5           WHEREAS, the parties have met and conferred, and agree that good cause exists
 6 to extend all deadlines in the Court’s Scheduling Order by 90 days;
 7           NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by
 8 and between the Parties, and subject to the Court’s approval, that the Court enter the
 9 proposed Order granting the parties’ joint stipulation to modify the Scheduling Order
10 (as modified in Dkt. 88) by extending all existing deadlines by 90 days.
11           IT IS SO STIPULATED.
12
13 Date: September 30, 2020                        GREENBERG TRAURIG, LLP
14
15                                      By: /s/ Adil M. Khan
16                                               Gregory A. Nylen
                                                 Adil M. Khan
17
                                                 Attorneys for Defendants, Moss Bros.
18                                               Auto Group, Inc. and Susan Anderson
19
     Date: September 30, 2020                      EDELSBERG LAW, PA
20
21
22
                                        By: /s/ Scott Edelsberg
23                                               Scott Edelsberg
24                                               Attorneys for Plaintiff,
                                                 Jamal Johnson
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                       JOINT STIPULATION TO MODIFY SCHEDULING ORDER
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 1                       ATTESTATION REGARDING SIGNATURES
 2           I, Adil M. Khan, attest pursuant to L.R. 5-4.3.4(a)(2)(i) that all signatories listed,
 3 and on whose behalf the filing is submitted, concur in the filing’s content and have
 4 authorized the filing.
 5
 6 Date: September 30, 2020                            /s/ Adil M. Khan

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                       JOINT STIPULATION TO MODIFY SCHEDULING ORDER
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